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October 26, 2022

Via ECF

Honorable Lorna G. Schofield, U.S.D.J.
United States District Court, Southern District of New York
500 Pearl Street
New York, NY 10007

Re:     Findigs, Inc. v. Henson Orser and Two Dots, Inc., 1:22-cv-07404-LGS: Joint Letter
        Re: Case Status

Dear Judge Schofield:

         Defendants Henson Orser (“Orser”) and Two Dots, Inc. (“Two Dots,” and collectively,
“Defendants”) and Plaintiff Findigs, Inc. (“Findigs”) submit this joint letter in accordance with
Fed. R. Civ. P. 26 and the Court’s Order dated October 19, 2022 (Dkt. No. 19) in advance of the
initial conference scheduled for November 2, 2022.

I.      Brief Description of the Nature of the Action

        Plaintiff:

        This action arises from Orser’s unlawful misappropriation of trade secrets and
confidential information gained in the course of his employment as a key executive at Findigs in
order to launch his competing venture Two Dots. Findigs asserts claims for misappropriation of
trade secrets under the Defense of Trade Secrets Act and common law, violation of the Lanham
Act, breach of contract, common law unfair competition, and faithless servant against
Defendants. In addition to compensatory damages and disgorgement of Orser’s salary, Findigs
seeks preliminary and permanent injunctive relief restricting Defendants ongoing unlawful use of
Findigs’ confidential information and trade secrets, and an equitable accounting.

        Defendants:

        Two Dots is a New York startup company which leverages artificial intelligence to
provide real estate leasing offices with document fraud detection and income verification
services. Services Two Dots offers include paystub verification, bank statement verification, tax
transcript verification, direct bank account linking, automatic document collection, and identity
verification. Orser is Two Dots’ Chief Executive Officer and Co-Founder.
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         Defendants deny all of Plaintiff’s claims. Defendants plan to assert defenses including
but not limited to those based on Plaintiff’s lack of technology that is protectable as a trade
secret, the factual and legal impossibility of Plaintiff’s central allegations, and lack of damages.

II.    Jurisdiction and Venue

       Plaintiff:

       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331 as
Findigs asserts claims arising under federal law. Venue in this judicial district is proper pursuant
to 28 U.S.C. § 1391(b).

       Defendants:

        Defendants do not dispute that the Court has subject-matter jurisdiction over this matter
or that venue is proper in this judicial district.

III.   Changes to Existing Deadlines

       To allow the Parties time to pursue mediation, the Parties respectfully request that
Defendants’ deadline to answer or otherwise respond to Plaintiff’s Complaint be extended to
January 6, 2023. This extension is requested to allow the Parties to have the opportunity to
meaningfully explore resolution of Plaintiff’s claims before expending Court resources.

IV.    Pending or Contemplated Motions

       There are currently no pending or contemplated motions.

V.     Discovery Status

        No discovery has yet taken place. The Parties have submitted a proposed case
management order with written discovery commencing on February 17, 2023 in order to allow
for the Parties to have meaningful settlement discussions and to appear for a settlement
conference before Magistrate Judge Netburn if the Parties are unable to reach a resolution.

VI.    Alternative Dispute Resolution

       The Parties are discussing potential resolution of the claims. In light of this, the Parties
request a referral to Magistrate Judge Netburn.


Respectfully,

CROWELL & MORING LLP                                LEWIS BRISBOIS BISGAARD & SMITH
                                                    LLP
By:_/s/ Joachim B. Steinberg__________
Gabriel M. Ramsey (pro hac vice pending)            By:_/s/ Adam E. Collyer_______________
Joachim B. Steinberg                                Adam E. Collyer
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Attorneys for Defendants               Brian Pete
Henson Orser and Two Dots, Inc.        Attorneys for Plaintiff Findigs, Inc.
